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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MONTANA
                              BUTTE DIVISION


GALLA TIN WILDLIFE                             Case No. CV-15-027-BU-BMM
ASSOCIATION,
                                              JUDGMENT IN A CIVIL CASE
    Plaintiff,

  vs.

UNITED STATES FOREST
  SERVICE, et al,
   Defendants,

AND HELLE LIVESTOCK, a
  partnership; and REBISH/KONEN
  LIVESTOCK LIMITED
  PARTNERSHIP,
  Defendant-Intervenors, and

MONTANA WOOL GROWERS
  ASSOCIATION and the
  AMERICAN SHEEP INDUSTRY,
  Defendant-lntervenors




        Jury Verdict. This action came before the Court for a trial by jury. The
 issues have been tried and the jury has rendered its verdict.

  X    Decision by Court. This action came before the Court for bench trial,
 hearing, or determination on the record. A decision has been_rendered.
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     IT IS ORDERED AND ADJUDGED the Federal Defendants' motion for
summary judgment regarding its use of the coarse filter or habitat by proxy
methodology is GRANTED in part as set out in the Court's Order of June 14, 2016.

      Dated this 6th day of December, 2017.

                               TYLER P. GILMAN, CLERK

                              By: Isl Erica Larson
                              Erica Larson, Deputy Clerk
